      Case 18-42977         Doc 25      Filed 03/27/19 Entered 03/27/19 08:04:51                Order/Notice
                                           for failure to pa Pg 1 of 1

                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Missouri
                                      Thomas F. Eagleton U.S. Courthouse
                                     111 South Tenth Street, Fourth Floor
                                             St. Louis, MO 63102
                                                (314) 244−4500

In re                                                                                    Case No.: 18−42977 − A659
  Debtor(s):                                                                                            Chapter: 7
   Janet Lee Gregory − See below for reported alias information.
   xxx−xx−3462 −
    − See below for reported alias information.
    −

                         Order and Notice of Failure to Pay Filing Fee Through Internet


The Court approved making payment of fee related events mandatory through the Internet effective September 1,
2004. On March 26, 2019, ECF participant Gary L. Vincent did not pay the filing fee of $181.00 through the Internet
for the filing of the Motion to Sell Property Free and Clear of Liens Under 11 USC 363(f). A filing fee is due at the
time of filing this document. Payment of all fees due can be made either through CM/ECF by accessing the Internet
Payment Due option in the Utilities menu or by bringing the necessary payment directly to the Intake Counter at the
Court.

If the fee is not paid within two business days from the date of this Order, the petition or pleading may be
dismissed or denied without further notice or hearing.




                                                                                       U.S. Bankruptcy Judge

Dated: 3/27/19
St. Louis, Missouri
Rev. 01/18 ecffeeo

Reported Alias Information:
Janet Lee Gregory − Janet Lee Sheets

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